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   1                         United States District Court

   2                    for the Southern District of California

   3
                                               )
   4   UNITED STATES OF AMERICA,               )
                                               )   No. 21mj1210-AGS
   5         Plaintiff,                        )
                                               )   April 15, 2021
   6               v.                          )
                                               )
   7   TROY MATTHEW GARLAND,                   )   San Diego, California
                                               )
   8           Defendant.                      )
                                               )
   9

  10                        Transcript of Detention Hearing
                        BEFORE THE HONORABLE MITCHELL D. DEMBIN
  11                        United States Magistrate Judge

  12   APPEARANCES:

  13   For the Plaintiff:          UNITED STATES ATTORNEY'S OFFICE
                                         FRANCISCO NAGEL
  14                                     880 Front Street, Room 6293
                                         San Diego, CA 92101
  15
       For the Defendant:          FEDERAL DEFENDERS OF SAN DIEGO, INC.
  16                                     MICHELLE BETANCOURT
                                         225 Broadway, Suite 900
  17                                     San Diego, CA 92101

  18

  19

  20   Transcriber:                Dana Peabody, RDR, CRR
                                   District Court Clerk's Office
  21                               333 West Broadway, Suite 420
                                   San Diego, California, 92101
  22

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  24   (Transcript prepared from a recording)

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   1                   San Diego, California, April 15, 2021

   2                                   *   *   *

   3               THE CLERK:   Calling Matter Number 2, 21MJ1210, USA

   4   versus Troy Matthew Garland.

   5               MS. BETANCOURT:    Good morning, Your Honor.

   6   Michelle Betancourt, Federal Defenders, on behalf of

   7   Mr. Garland, who is present before the Court.

   8          Your Honor, I will say unfortunately I've struggled to

   9   speak with Mr. Garland.       I'm prepared to go forward because

  10   I've been in touch with his family and friends, but I did not

  11   personally review the waiver of personal appearance, but I'm

  12   sure that he's willing to because he's been waiting for his

  13   detention hearing.

  14               THE COURT:   Yeah, and I'm sure he had the conversation

  15   before his last hearing with the duty defender.

  16          So, Mr. Garland, good morning, Your Honor.      How are you?

  17               THE DEFENDANT:    I mean, I've been better, but I mean

  18   (inaudible).

  19               THE COURT:   All right.     As you can tell, you're

  20   appearing by video today.      I know that you have had the

  21   opportunity in the past to speak with a lawyer about your right

  22   to appear in person.     Do you agree to appear by video today,

  23   sir?

  24               THE DEFENDANT:    Yes, I do.

  25               THE COURT:   All right.     Great.
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   1        We're on this morning for detention hearing.         Are the

   2   parties ready to proceed?

   3              MS. BETANCOURT:    Yes, Your Honor.

   4              THE COURT:    All right.   Let me hear first from the

   5   government then.

   6              MR. NAGEL:    Thank you, Your Honor.

   7        The United States is moving to detain Mr. Garland based on

   8   both a significant risk of flight and danger to the community.

   9              THE COURT:    Not according to the docket.      According to

  10   the docket, it just says "risk of flight," but I'm happy to

  11   hear it unless, Ms. Betancourt, are you prepared --

  12              MS. BETANCOURT:    Your Honor, that's fine.

  13              THE COURT:    Okay.   Let's go forward.

  14              MR. NAGEL:    Thank you, Your Honor.

  15        The defendant here is a 39-year-old U.S. citizen charged in

  16   an indictment -- or pardon -- in a complaint for both

  17   distributing methamphetamine and a host of firearms-related

  18   charges, felon in possession of firearms and ammunition,

  19   possession of an unregistered firearm, and dealing in firearms

  20   without a license.      And so the nature and charges here weigh in

  21   favor of detention.

  22        As I mentioned, due to the methamphetamine charges, this is

  23   a presumption of detention case, and, moreover, the

  24   firearms-related charges deal -- concern dealing in

  25   unregistered and privately manufactured dangerous weapons
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   1   including AR-15 rifles and AR-15-style rifles, Glock handguns,

   2   and other weapons, and to be more specific, Your Honor, I think

   3   by my count, it amounts to approximately 29 guns.

   4        Moreover, the weight of the evidence here weighs in favor

   5   of detention too.     Although afforded the least weight, the

   6   weight here is strong.     Here an ATF confidential informant

   7   purchased both narcotics and an AR-15 weapon from the

   8   defendant.    Later the defendant admitted that he had made the

   9   weapon himself and had other weapons to sell and later sent a

  10   series of photographs of those privately manufactured weapons

  11   that were available for sale.

  12        Later authorities identified many other weapons and parts

  13   at his residence.

  14        And, finally, after his arrest, he admitted to the conduct,

  15   he admitted to making part of the manufactured weapons and to

  16   selling these privately manufactured weapons and to possessing

  17   with the intent to sell methamphetamine.

  18        Moving to the history and characteristics of the defendant,

  19   Your Honor, we note that the defendant did report some use of

  20   ectasy, but although it's unclear that that is ongoing, and in

  21   looking at his criminal history, much of it -- the United

  22   States admits that most of it is dated.        I think there are some

  23   charges for use of controlled substance, you know, in 2002.         We

  24   do note that there is -- there was a failure to appear in 2003.

  25   Even though the charge was later dismissed, he was charged with
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   1   a failure to appear and then 2003 was convicted of possession

   2   for sale of designated controlled substance and then most

   3   recently in 2021, in February, was at least initially charged

   4   with assault with a deadly weapon with force.

   5        So, Your Honor, based on the totality of the circumstances

   6   here, most importantly, the nature of the charges here and the

   7   weight of the evidence, this is a presumption case because of

   8   the methamphetamine, and we're dealing with privately

   9   manufactured dangerous weapons that the defendant admitted to

  10   manufacturing and selling, and for those reasons, Your Honor,

  11   the United States submits that there's no condition or

  12   combination of conditions that can reasonably assure his

  13   presence at future court proceedings.

  14        Thank you.

  15              THE COURT:   All right.    Thank you.

  16        Ms. Betancourt.

  17              MS. BETANCOURT:    Yes, Your Honor.

  18        Just as to whether this is a presumption case or not,

  19   Count 4 alleges 24 grams of a mixture and substance containing

  20   methamphetamine, and my understanding, it doesn't indicate

  21   whether it's pure or not, but if it turns out to be five grams

  22   of pure, it would only be a five-year min man.         If it's not,

  23   then it's not even a min man under the guidelines.

  24              THE COURT:   Right, but in order for it to be a

  25   presumption case, it has to carry a maximum term of more than
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   1   ten years, and it does.

   2              MS. BETANCOURT:    In the -- I guess if it's more than

   3   five grams.    Aside from that --

   4              THE COURT:   Well, it just has to have a maximum term

   5   of imprisonment of ten years or more.        It's irrelevant as to

   6   whether it is -- whether it is a minimum mandatory case or not

   7   has some bearing in terms of what the potential sentence might

   8   be, but to generate the presumption, it just has to be a

   9   maximum penalty of more than ten years, and this would have a

  10   maximum penalty of more than ten years.

  11              MS. BETANCOURT:    Correct, Your Honor.     Your Honor, I

  12   would note that --

  13              THE COURT:   That's all right.     You don't have to look

  14   it up.   I was right.

  15              MS. BETANCOURT:    Your Honor, as to the assessment of

  16   nonappearance, the Pretrial Services denied bond here because

  17   of lack of verifiable familial, community, and financial ties,

  18   substance abuse history, and criminal history.

  19        I'd like to start by pointing out that I received about

  20   seven letters from family and friends yesterday all attesting

  21   to their very close-knit relationship and local relationship

  22   with Mr. Garland.     His mother, I've spoken to her at length --

  23              THE COURT:   Let me make it easy for you, if you don't

  24   mind.

  25              MS. BETANCOURT:    Sure.
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   1              THE COURT:   I believe that is correct, that

   2   Mr. Garland wouldn't run.      I think he does not pose a risk of

   3   flight.   He's here.    His girlfriend is here.      I don't know that

   4   he has anywhere to go or the means to finance a fugitive

   5   lifestyle.    I am significantly concerned about the danger to

   6   the community.

   7              MS. BETANCOURT:    I think that the Court certainly can

   8   fashion conditions that would ensure that the Court is

   9   satisfied that he is not a danger to the community.          Again, I

  10   return to all the letters that were sent in support of

  11   Mr. Garland indicating how he is an individual who would stop

  12   on the side of the road to pull over and help someone with a

  13   flat tire, he's an individual who's not had issues in terms of

  14   any violent history.

  15        I do note, Your Honor, he works as a security guard, so my

  16   guess is that this charge in February of 2021 is likely related

  17   to something that happened --

  18              THE COURT:   That wasn't a charge, it was just an

  19   arrest.   I'm ignoring it.

  20        To me, the issue again, just to help you along, if it

  21   matters, I'm concerned with him being a felon in possession,

  22   manufacturing and selling weapons, and selling methamphetamine.

  23   It is a dangerous and bad combination.

  24              MS. BETANCOURT:    Very true, Your Honor, but all of

  25   those things have been seized.       All of those things are out of
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   1   his possession, and all of those things are allegations that

   2   the Court is to give him the presumption of innocence.

   3              THE COURT:   Right, but the judge has found -- I didn't

   4   sign this complaint, but at least a preliminary probable cause

   5   finding has been made.

   6              MS. BETANCOURT:    Probable cause certainly, but not

   7   proof beyond a reasonable doubt, and he still does, you know,

   8   carry the presumption of innocence in this case.

   9              THE COURT:   Sure.    I agree.

  10              MS. BETANCOURT:    So Mr. Garland will not be returning

  11   to that home.    Mr. Garland would be supervised by our excellent

  12   Pretrial Services office who would be able to monitor his

  13   whereabouts.    Pretrial Services always ensured that there are

  14   no guns on the premises.      There is no one that has any firearms

  15   or anything around there.       He will be drug tested, has no

  16   objection to that whatsoever.

  17        Mr. Garland, as the Court heard, is facing a serious

  18   complaint here and serious charges.         It is to his benefit to

  19   not continue any of this.       I don't believe that there's any

  20   reason that the Court should consider that he's a danger to the

  21   community in that everything that the Court is concerned about

  22   has been seized and taken.      It's not that he will have access

  23   to anything to further manufacture anything or to continue to

  24   sell anything.

  25        The government did seize, as they said, by their count 29
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   1   firearms, so I don't believe that there's a continued danger to

   2   the community nor has there ever been any allegations of him

   3   doing anything of violence or violent in nature.         So I do think

   4   that the Court can set conditions that would ensure and make

   5   the Court feel confident and comfortable that he will not, you

   6   know, further jeopardize his pretrial release.

   7               THE COURT:   All right.   Thank you.

   8        I am going to find that the government has sustained its

   9   burden by clear and convincing evidence that Mr. Garland poses

  10   a danger to the community.      I'm not finding that he is a risk

  11   of flight because -- ordinarily, this would be -- despite the

  12   allegations, this would be a bailable case, but as I said

  13   before, my problem has to do with the nature of the offense.              I

  14   appreciate he hasn't been convicted of this, but solely based

  15   on the complaint for which there is probable cause, as well as

  16   admissions, we have a situation where Mr. Garland appears to

  17   have been selling drugs and guns while he is a convicted felon,

  18   and that almost by its nature is dangerous and I believe

  19   crosses the line to being clear and convincing evidence, and he

  20   is and would continue to pose a danger to the community.

  21        I appreciate that there's been seizures, but obviously

  22   Mr. Garland, if he chose, has the ability to go back into that

  23   business.    He may choose not to, but I don't know that I can

  24   take that risk.    And that's really what it's about.        It's a

  25   less than perfect risk assessment.       I certainly agree that it
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   1    is less than perfect, but, you know, we have to make these

   2    decisions based on what's in front of us.        I'm not suggesting

   3    that Mr. Garland is a bad guy.        You know, basically --

   4                MS. BETANCOURT:   I think you are.    With all due

   5    respect, I think you are.

   6        If I may then proffer --

   7                THE COURT:   No, no, no, I'm not.    I appreciate that he

   8    has letters from the community, people that care about him,

   9    people that he's been kind to, but we have a situation where

  10    despite his kindness and gentle nature in the community, he

  11    manufactures and sells guns and drugs.       I can't -- I just

  12    can't -- I cannot -- Mr. Garland, it's probably best that you

  13    not speak.    Anything you say can be used against you, and, you

  14    know, you will have -- you will have an opportunity to have a

  15    much more detailed conversation with your lawyer, and it may be

  16    that based on that conversation, she may be able to convince me

  17    that I've made a mistake.

  18                MS. BETANCOURT:   Your Honor, so for the record, may I

  19    just go ahead and outline the factors because this will be

  20    appealed.    I don't want the record to show that I didn't

  21    proffer any factors that the Court could consider.

  22                THE COURT:   Sure.

  23                MS. BETANCOURT:   Okay.    So Mr. Garland has been

  24    employed at the same establishment for the past five years.          He

  25    does have a steady income that he can support himself on.           His
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   1    girlfriend, Amanla Blaly (phonetic), is willing to be a surety

   2    despite knowing the charges and consequences here.         She's

   3    willing to post a bond on his behalf.

   4           He is a father for two children who he maintains close

   5    contact with and supports them both financially and

   6    emotionally.    He has a 16-year-old daughter and an 11-year-old

   7    son.

   8           As I mentioned -- as I started to mention, his mother, who

   9    is his stepmother actually but considers him her son for all

  10    intents and purposes, is also willing to be a surety or this

  11    case.

  12           I think the Pretrial Services report points out that he has

  13    maintained a steady employment, steady -- a stable housing

  14    situation, has no physical issues, did a few months ago use

  15    ecstasy, but no other issues, that there are no mental health

  16    issues or anything that would cause him to reoffend or do

  17    anything that the Court is concerned about.

  18           With that, Your Honor, I would just submit and say that I

  19    do object to the Court finding that he's a danger to the

  20    community.

  21                THE COURT:   And I appreciate that, and I think the

  22    factors you've laid out are based in the Pretrial Services

  23    report and other information.      That's why I decided that he

  24    would not pose a risk of flight because of his connections to

  25    the community and his job.
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   1        With that said, and I appreciate you disagree with me, I

   2    believe that the allegations support a finding that he remains

   3    a danger to the community by clear and convincing evidence.

   4        So some other judge will decide whether I was right or

   5    wrong, and we'll go from there.

   6        You have a preliminary hearing date of April 22.          Do you

   7    want to keep it or move it to the arraignment date?

   8              MS. BETANCOURT:     I'd like to keep it, Your Honor.

   9              THE COURT:    All right.    Mr. Garland, your next court

  10    date is April 22 at 1:45 before Judge Skomal.

  11        And with that, good luck, and if you can let the guard know

  12    we're done for now.     You'll have a detailed conversation with

  13    your lawyer and be able to figure out how you want to proceed.

  14              MS. BETANCOURT:     Mr. Garland, I'm coming to MCC this

  15    afternoon.   Thank you.

  16              THE COURT:    All right.    Thank you, sir.

  17                                   ---000---

  18                          C-E-R-T-I-F-I-C-A-T-I-O-N

  19

  20        I hereby certify that the foregoing is a correct transcript

  21    from the electronic sound recording of the proceedings in the

  22    above-entitled matter.

  23        Dated April 16, 2021, at San Diego, California.

  24

  25                           /Dana Peabody/
                               Dana Peabody, Transcriber
